
187 F.Supp.2d 461 (2002)
PETER BAY OWNERS ASSOCIATION, INC., Plaintiff,
v.
Andrew R. STILLMAN, Joy H. Stillman, John G. Catts, and Sheila J. Roebuck, Defendants.
Antonio Godinez, Bonnie Godinez, Paul Dué, Genevieve Dué, and Ethlyn Hall, Intervening Counterclaim Plaintiffs,
v.
James Henry, Carol Henry, L.D. Kirk, Suzanne Kirk, Scott F. Meese, Donna G. Meese, Arie Liebeskind, Doreen Liebeskind Jim R. Hayes, Zaquynn S. Hayes, Jeffrey Price, Steven Paul, Jann Paul, St. John Land Investment L.P., and Andrews St. John Trust, Intervening Counterclaim Defendants.
Civil Action No. 97-09936.
District Court, Virgin Islands, St. Thomas Division.
February 11, 2002.
James M. Derr, St. Thomas, VI, J. Daryl Dodson, Moore &amp; Dodson, St. Thomas, VI, John H. Benham, Watts &amp; Benham, P.C., St. Thomas, VI, Susan Bruch Moorehead, Grunert Stout &amp; Bruch, St. Thomas, V.I., Matthew J. Duensing, Jones, Stryker, Duensing, Casner &amp; Dollison, St. Thomas, V.I., Gregory H. Hodges, Dudley, Topper &amp; Feuerzeig, St. Thomas, VI, Henry C. Smock, Law Offices of Henry C. Smock, St. Thomas, VI, Samuel H. Hall, Birch, Dejongh, Hindels &amp; Hall, St. Thomas, VI, Jennie Jerome, St. Thomas, VI, William Travers Jerome, W.T. Jerome, P.C., St. John, V.I.


*462 ORDER
BROTMAN, District Judge.
THIS MATTER having come before the Court on the motion of Anthony and Bonnie Godinez for injunctive relief to prevent trespass, the motion of Peter Bay Owners Association for Order certifying judgment of August 22, 2001 as appealable, final order or, in the alternative, motion for order certifying judgment as appealable, interlocutory decision, the unopposed motion of Robert D. Blakeney II to substitute for Andrews St. John Trust and intervene as the real party in interest with respect to Parcel No. 3 Estate Peter Bay, and the motion of Dudley, Topper &amp; Feuerzeig, LLP to withdraw as counsel for Intervening Counterclaim Defendants L.D. Kirk, Suzanne Kirk, Scott F. Meese, Donna G. Meese, Arie Liebeskind, Doreen Liebeskind, Jim R. Hayes, Zaquynn S. Hayes, Jeffrey Price, Steven Paul, Jann Paul, St. John Land Investment, L.P., and Andrews St. John Trust; and
The Court having reviewed the record and the submissions of the parties; and
The Court having heard oral argument on these motions on October 30, 2001; and
For the reasons expressed by the undersigned in an oral opinion on that date and for good cause shown;
IT IS on this 6th day of February, 2002, HEREBY
ORDERED that the motion for injunctive relief to prevent trespass is DENIED as MOOT; and
IT IS FURTHER ORDERED that the motion for order certifying judgment of August 22, 2001 as appealable, final order or, in the alternative, motion for order certifying judgment as appealable, interlocutory decision is DENIED as MOOT; and
IT IS FURTHER ORDERED that the unopposed motion to substitute and intervene as the real party in interest is GRANTED;[1] and
IT IS FURTHER ORDERED that the motion to withdraw as counsel for Intervening Counterclaim Defendants L.D. Kirk, Suzanne Kirk, Scott F. Meese, Donna G. Meese, Arie Liebeskind, Doreen Liebeskind, Jim R. Hayes, Zaquynn S. Hayes, Jeffrey Price, Steven Paul, Jann Paul, St. John Land Investment, L.P., and Andrews St. John Trust is GRANTED.
NOTES
[1]  Within the last paragraph of Blakeney's motion to substitute and intervene as real party in interest, he further requested that the Court allow him a period of thirty days from the date of substitution to respond to any pending motions or appeal the Court's August 22, 2001 ruling on motion for reconsideration. The Court's ruling on Blakeney's motion to substitute and intervene as the real party in interest does not encompass this request for additional time.

